                   Case 2:22-cv-00323-RGK-JEM Document 6 Filed 01/18/22 Page 1 of 12 Page ID #:14




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JOHN L. BARBER,SB# 160317
                      2   E-Mail: John.Barber@lewisbrisbois.com
                        MADONNA L. DEVLING, SB# 163419
                      3   E-Mail: Madonna.Devling@lewisbrisbois.com
                        650 Town Center Drive, Suite 1400
                      4 Costa Mesa, California 92626
                        Telephone: 714.545.9200
                      5 Facsimile: 714.850.1030
                      6 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        RACHEL J. LEE, SB# 225263
                      7   E-Mail: Rachel.Lee@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      8 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      9 Facsimile: 213.250.7900
                    10 Attorneys for Defendants, UNIFYED,
                       LLC and CAMPUSEAI, INC.
                    11
                    12                               UNITED STATES DISTRICT COURT
                    13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    14
                    15 MELISSA ROBERTSON, an                              Case No. 2:22-cv-00323
                       individual,
                    16                                                    DEFENDANT UNIFYED, LLC’S
                                    Plaintiff,                            NOTICE OF REMOVAL OF CIVIL
                    17                                                    ACTION PURSUANT TO 28 U.S.C.
                               vs.                                        § 1441(a) (DIVERSITY
                    18                                                    JURISDICTION)
                       UNIFYED, LLC, an Illinois limited
                    19 liability company; CAMPUSEAI, INC.,
                       an Ohio Corporation; and DOES 1-10                 [Filed concurrently with Declarations of
                    20 inclusive,                                         Madonna L. Devling and Anjli Jain;
                                                                          Certification and Notice of Interested
                    21                      Defendants.                   Parties; Civil Cover Sheet]
                    22
                    23            NOTICE OF REMOVAL OF CIVIL ACTION TO PLAINTIFF, HER
                    24 ATTORNEYS OF RECORD, AND THE CLERK OF THE UNITED STATES
                    25 COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA:
                    26            PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and
                    27 1446, Defendant UNIFYED, LLC hereby removes this action from the Superior

LEWIS               28 Court of California, County of Los Angeles, to the United States District Court for
BRISBOIS
BISGAARD                 4867-7137-5880.1
& SMITH LLP
ATTORNEYS AT LAW                            DEFENDANT UNIFYED, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION
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                      1 the Central District of California.
                      2            This Court has original subject matter jurisdiction over Plaintiff MELISSA
                      3 ROBERTSON’s (“Plaintiff”) lawsuit under 28 U.S.C. § 1332(a), because complete
                      4 diversity of citizenship exists between Plaintiff and Defendants (i.e., Plaintiff is a
                      5 California citizen, while Defendant UNIFYED, LLC is a Illinois limited liability
                      6 company and Defendant CAMPUSEAI, INC. is an Ohio corporation and the amount
                      7 in controversy pertaining to Plaintiff’s claims exceeds $75,000.00).
                      8
                      9 DATED: January ___,
                                        14 2022                    RACHEL J. LEE
                                                                   MADONNA L. DEVLING
                    10
                                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP
                    11
                    12
                    13                                             By:     /s/Madonna L. Devling
                    14                                                   MADONNA L. DEVLING
                                                                         Attorneys for Defendants, UNIFYED, LLC
                    15                                                   and CAMPUSEAI, INC.
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                      1 I.         INTRODUCTION
                      2            1.        This is an employment action brought by Plaintiff MELISSA
                      3 ROBERTSON (“Plaintiff”) against Defendants UNIFYED, LLC and CAMPUSEAI,
                      4 INC. (“Defendants”).
                      5            2.        On October 13, 2021, Plaintiff filed her Summons and Complaint,
                      6 entitled MELISSA ROBERTSON v. UNIFYED, LLC, An Illinois Limited Liability
                      7 Company; CAMPUSEAI, INC., an Ohio Corporation; and DOES 1 through 10,
                      8 inclusive, in the Superior Court of California, County of Los Angeles, Case No.
                      9 21STCV37867. (True and correct copies of the Summons and Complaint
                    10 (“Complaint”), are attached as Exhibit A to this Notice of Removal.)
                    11             3.        Counsel for Defendant UNIFYED, LLC signed a Notice and
                    12 Acknowledgment of Receipt of the Summons and Complaint, Civil Case Cover
                    13 Sheet, Civil Case Cover Sheet Addendum and Statement of Location, Notice of
                    14 Case Assignment, First Amended General Order and Notice of Case Management
                    15 Conference on January 14, 2022. (Declaration of Madonna L. Devling (“Devling
                    16 Decl.”) at ¶3.) A true and correct copy of the Notice and Acknowledgment of
                    17 Receipt is attached hereto as Exhibit B. (Ibid.)
                    18             4.        Plaintiff alleges that UNIFYED, LLC is not currently registered as an
                    19 entity authorized to do business in the State of California and claims that it is
                    20 therefore barred from exercising rights within California (Exhibit A, Complaint,
                    21 ¶22.) However, California Corporations Code section 17708.07(b) provides: “The
                    22 failure of a foreign limited liability company to have a certificate of registration to
                    23 transact intrastate business in this state does not prevent the foreign limited liability
                    24 company from defending an action or proceeding in this state.” Therefore,
                    25 UNIFYED, LLC can appear and defend itself in this lawsuit.
                    26             5.        On January 14, 2022, UNIFYED, LLC answered Plaintiff’s Complaint.
                    27 A true and correct copy of the Answer to Plaintiff’s Complaint is attached hereto as

LEWIS               28 Exhibit C.
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                      1            6.        Plaintiff alleges two claims against Defendants: (1) Violation of Labor
                      2 Code section 1102.5 and (2) Wrongful Termination in Violation of Public Policy.
                      3            7.        In addition to Exhibits A - C, the state court action contains the
                      4 additional process, pleadings, and orders: Civil Case Cover Sheet and Addendum
                      5 and Statement of Location (Exhibit D), Notice of Case Assignment (Exhibit E),
                      6 Notice of Case Management Conference (Exhibit F), Proof of Service (Exhibit G)
                      7 and First Amended General Order (Exhibit H).
                      8            8.        To UNIFYED, LLC’S knowledge, the pleadings attached as Exhibits
                      9 A - H constitute all process, pleadings, and orders filed in the state court action. (See
                    10 28 U.S.C. § 1446(a).)
                    11             9.        This Notice of Removal is timely filed within 30 days after service of
                    12 the Complaint on UNIFYED, LLC. (See 28 U.S.C. § 1446(b)(2)(c).)
                    13 II.         JURISDICTIONAL BASIS FOR REMOVAL
                    14             A.        Diversity of Citizenship
                    15             10.       Plaintiff is a citizen of California. A natural person’s state citizenship
                    16 is determined by her state of domicile. (Kanter v. Warner-Lambert Co., 265 F.3d
                    17 853, 857 (9th Cir. 2001).) “A person’s domicile is [her] permanent home, where
                    18 [she] resides with the intention to remain or to which [she] intends to return.” (Id. at
                    19 857.) It is presumed that a natural person’s residence is also her domicile, and a
                    20 party resisting this presumption bears the burden of producing contrary evidence.
                    21 (Ayala v. Cox Auto, No. CV 16-06341-GHK (ASx), 2016 U.S. Dist. LEXIS 153617,
                    22 *10 (C.D. Cal. Nov. 4, 2016) (citing State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d
                    23 514, 519 (10th Cir. 1994); Lew v. Moss, 797 F.2d 747, 751 (9th Cir. 1986).) Here,
                    24 the Complaint alleges “Plaintiff, Melissa Robertson (hereinafter ‘Plaintiff’ or ‘Ms.
                    25 Robertson’), at all relevant times herein, resided in the County of Los Angeles,
                    26 California. . .” (Exhibit A, Complaint, ¶1.) Plaintiff is therefore a citizen of
                    27 California.

LEWIS               28             11.       The Complaint further alleges: “Unifyed, LLC (hereinafter ‘Unifyed’),
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                      1 is an Illinois limited liability company. . .” (Exhibit A, Complaint, ¶3.) This is an
                      2 accurate statement. (Declaration of Anjli Jain (“Jain Decl.”), ¶5.) An
                      3 unincorporated entity, such as a limited liability company or a limited partnership,
                      4 is a citizen of each member of the unincorporated entity. (See Johnson v. Columbia
                      5 Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).) UNIFYED, LLC is a
                      6 wholly owned subsidiary of Defendant CAMPUSEAI, INC. (Jain Decl., ¶5.)
                      7 CAMPUSEAI, INC. is a corporation organized under the laws of Ohio and its
                      8 principal place of business is its corporate office located at 936 SW 1st Avenue,
                      9 Suite 413, Miami, Florida 33130. (Jain Decl., ¶4.) Under 28 U.S.C. § 1332(c)(1), “a
                    10 corporation shall be deemed to be a citizen of any state by which it has been
                    11 incorporated and of the state where it has its principal place of business.” A
                    12 corporation’s principal place of business is the “nerve center…from which its
                    13 officers direct, control, and coordinate all activities without regard to locale, in the
                    14 furtherance of the corporate objective.” (Hertz Corp. v. Friend, 559 U.S. 77, 90
                    15 (2010).) Thus, CAMPUSEAI, INC. is a citizen of both Ohio and Florida and
                    16 UNIFYED, LLC is a citizen of the states of citizenship of its member corporation,
                    17 CAMPUSEAI, INC., which is Ohio and Florida.
                    18            12.       For purposes of removal based on diversity of citizenship, the
                    19 citizenship of defendants sued under fictitious names is disregarded. (28 U.S.C. §
                    20 1441(b)(1); Soliman v. Phillip Morris, Inc., 311 F.3d 966, 971 (9th Cir. 2002).) Nor
                    21 can it prevent removal. (Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th
                    22 Cir. 1998).) Thus, the citizenship of alleged Doe defendants is of no consequence
                    23 for purposes of this removal.
                    24            13.       Because Plaintiff and Defendants are not citizens or residents of the
                    25 same state, removal of this action is proper.
                    26            B.        Amount in Controversy
                    27            14.       Defendant denies all of Plaintiff’s allegations and specifically denies

LEWIS               28 that Plaintiff is entitled to any relief. But without prejudice to its defenses in this
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                   Case 2:22-cv-00323-RGK-JEM Document 6 Filed 01/18/22 Page 6 of 12 Page ID #:19




                      1 action, Defendant avers that the amount in controversy exceeds the $75,000
                      2 threshold for removal under 28 U.S.C. section 1332(a). Pursuant to 28 U.S.C. §
                      3 1332(a), the amount in controversy in a case where federal jurisdiction is predicated
                      4 upon diversity of citizenship jurisdiction must exceed $75,000, exclusive of interest
                      5 and costs.
                      6            15.       A defendant need only establish by a preponderance of the evidence
                      7 that the plaintiff’s claims exceed the jurisdictional minimum. (See Valdez v. Allstate
                      8 Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004).) In determining whether the
                      9 jurisdictional minimum has been met, the Court should consider all recoverable
                    10 damages, including compensatory damages, attorneys’ fees, statutory penalties, and
                    11 punitive damages. (See Simmons v. PCR Tech, 209 F. Supp. 2d 1029, 1031 (N.D.
                    12 Cal. 2002).)
                    13             16.       The amount in controversy may be satisfied based on the allegations in
                    14 the Complaint. (Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th
                    15 Cir. 1997) (a defendant may use the allegations in the Complaint to establish the
                    16 amount in controversy); Conrad Assocs. v. Hartford Accident & Indem. Co., 994 F.
                    17 Supp. 1196, 1198 (N.D. Cal. 1998).) A defendant may also provide “summary-
                    18 judgment-type evidence relevant to the amount in controversy at the time of
                    19 removal,” such as declarations. (Valdez, supra, 372 F.3d at 1117 (internal
                    20 quotations omitted); Singer, supra, 116 F.3d at 374 (“defense counsel submitted
                    21 declarations to show that the amount in controversy exceeded [the jurisdictional
                    22 minimum]”).)
                    23             17.       This is a traditional employment case. Plaintiff is seeking emotional
                    24 distress and general damages, special damages including loss of wages and out of
                    25 pocket expenses, punitive damages, and attorneys’ fees. (Exhibit A, Complaint, ¶31
                    26 and Prayer for Relief at pp.6:21-7:1.)
                    27             18.       Plaintiff was employed by UNIFYED, LLC from approximately June

LEWIS               28 2019 to May 2021. (Exhibit A, Complaint,¶8 and ¶21.) At the time Plaintiff’s
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                      1 employment with UNIFYED, LLC ended, Plaintiff’s salary was $130,000 per year
                      2 plus a quarterly bonus based upon sales. (Jain Decl., ¶7.) In 2020, Plaintiff earned
                      3 approximately $42,298.50 in bonuses. (Ibid.) It has been almost 8 months since
                      4 Plaintiff’s employment with UNIFYED, LLC ended. Her potential back pay (not
                      5 including bonuses) to date is approximately $86,667. Assuming a trial date is set in
                      6 October 2022 (one year after the lawsuit was filed), Plaintiff’s potential back pay
                      7 damages alone (exclusive of bonuses) would exceed $184,167 (17 months x
                      8 $10,833/month).
                      9            19.       Plaintiff claim for front pay, i.e., loss of future earnings, is potentially
                    10 greater. In California, it is not uncommon for front pay awards to comprise several
                    11 years. (See Smith v. Brown-Forman Distillers Corp. (1987)196 Cal.App.3d 503,
                    12 518.) Presuming an award of two years’ front pay, Plaintiff’s front pay damages
                    13 would be $260,000 ($130,000 yearly salary x 2 years).
                    14             20.       In addition to economic damages, Plaintiff alleges she has suffered
                    15 noneconomic damages and prays for judgment for such damages. (Exhibit A,
                    16 Complaint, ¶31(B) and Prayer for Relief at p.6:27.) Although Plaintiff does not
                    17 state a specific dollar amount of damages she seeks for emotional distress, this
                    18 Honorable Court can properly include these damages sought when determining
                    19 whether the amount in controversy has been met. (Vasquez v. Arvato Digital Servs.,
                    20 2011 U.S. Dist. LEXIS 69154 at *10, citing Richmond v. Allstate Ins. Co. (S.D. Cal.
                    21 1995) 897 F. Supp. 447, 450.))
                    22             21.       Plaintiff also requests compensation for loss of employment benefits
                    23 and reduced future earning capacity as well as out of pocket expenses. (Exhibit A,
                    24 Complaint, ¶31 and Prayer for Relief p.6:28.) Such damages are included in the
                    25 amount in controversy. (Simmons, supra, 209 F.Supp.2d at 1032.)
                    26             22.       Additionally, Plaintiff requests an unspecified amount in punitive
                    27 damages. (Exhibit A, Complaint, ¶31(D).) Plaintiff’s claims for punitive damages

LEWIS               28 are part of the amount in controversy when determining diversity jurisdiction.
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                      1 (Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is well established
                      2 that punitive damages are part of the amount in controversy in a civil action”).)
                      3            23.       Plaintiff also seeks penalties pursuant to Labor Code section 1102.5(f)
                      4 against Defendants.
                      5            24.       Finally, Plaintiff seeks attorneys’ fees under California Labor Code
                      6 sections 218.6 and 2699(g) and California Code of Civil Procedure section 1021.5
                      7 (Exhibit A, Complaint, p.6:23-24.) Attorneys’ fees should also be considered part of
                      8 the amount in controversy and would further increase this sum well above the
                      9 $75,000 threshold. (See Guglielmino v. McKee Foods Corp., 506 F.3d 696, 698 (9th
                    10 Cir. 2007); Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).)
                    11 The Ninth Circuit uses a benchmark rate of 25% of the potential damages as the
                    12 amount of attorneys’ fees. (See Molnar v. 1-800-Flowers.com, Inc., No. 08-CV-
                    13 0542-CAS-7Cx, 2009 WL 481618, at *5 (C.D. Cal. Feb. 23, 2009) (“fair estimate of
                    14 attorneys’ fees in this action is 25% of compensatory damages”); Tompkins v. Basic
                    15 Research LL, No. CIV. S08244-LKK-DAD, 2008 WL 1808316, at *4 (E.D. Cal.
                    16 Apr. 22, 2008) (when calculating attorneys’ fees for remand purposes, a reasonable
                    17 estimate is 25% of the common fund).) According to this benchmark rate,
                    18 Plaintiff’s claim for attorneys’ fees would increase the amount in controversy here
                    19 by at least $111,041.75 ($444,167 economic damages x 25%).
                    20             25.       Plaintiff's attorney fees in the instant case are supported by evidence of
                    21 prior employment discrimination litigation. (See, e.g., Flannery v. Prentice, 26
                    22 Ca1.4th 572, 576 (2001) (over $1,000,000 in attorneys' fees awarded in single
                    23 plaintiff FEHA case); EEOC v. Albion River Inn Inc., 2008 WL 928368 (N.D. Cal.,
                    24 Feb. 27, 2008) (awarding $75,000 in attorneys’ fees in single plaintiff
                    25 discrimination/retaliation case).)
                    26             26.       In sum, based on Plaintiff’s prayer for loss of earnings, loss of earning
                    27 capacity, emotional distress, attorneys’ fees, and civil penalties, Plaintiff’s potential

LEWIS               28 damages are likely to be at least $590,208.75($184,167 [back pay] + $260,000
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                      1 [front pay] + $111,041.75 [attorneys’ fees] + $25,000 [est. emotional distress] +
                      2 $10,000 [penalties]). This figure does not include Plaintiff’s prayer for potential
                      3 punitive damages.
                      4            27.       Accordingly, UNIFYED, LLC has established by a preponderance of
                      5 the evidence that the amount in controversy exceeds $75,000. 1
                      6 III.       PROCEDURAL REQUIREMENTS FOR REMOVAL
                      7            28.       Plaintiff filed her Complaint on October 13, 2021. Counsel for
                      8 Defendant UNIFYED, LLC signed a Notice and Acknowledgment of Receipt of the
                      9 Summons and Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet
                    10 Addendum and Statement of Location, Notice of Case Assignment, First Amended
                    11 General Order and Notice of Case Management Conference on January 14, 2022.
                    12 (Devling Decl., ¶3.)
                    13             29.       Accordingly, this Notice of Removal is timely filed within 30 days
                    14 after the date of service on UNIFYED, LLC of a summons and copy of the operative
                    15 pleading setting forth the claims for relief upon which this action is based. (See 28
                    16 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,
                    17 354 (1999) (thirty-day time period under removal statute begins to run from the date
                    18 of formal service).)
                    19             30.       Defendant CAMPUSEAI, INC. was served with the Summons and
                    20 Complaint on October 28, 2021. (Jain Decl., ¶8.) Pursuant to 28 U.S. Code section
                    21 1446(b)(2)(C), if defendants are served at different times, and a later-served
                    22
                    23    1
                            Defendant fully denies engaging in any unlawful conduct. The arguments related
                    24    to Plaintiff’s potential recovery of damages and fees are submitted for the sole
                          purpose of meeting Defendant’s burden to establish the amount in controversy. Any
                    25    information, arguments, or citations provided are not intended to be used as
                    26    evidence in this proceeding except in support of this Notice of Removal. Defendant
                          does not waive, and hereby preserves, any and all substantive and procedural
                    27    defenses that may exist regarding an instruction on, or an award of, any damages or
                    28    fees.
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                      1 defendant files a notice of removal, any earlier-served defendant may consent to the
                      2 removal even though that earlier-served defendant did not previously initiate or
                      3 consent to removal. CAMPUSEAI, Inc. consents to removal of this case to federal
                      4 court. (Jain Decl., ¶11.) 2
                      5            31.       The Superior Court of California, County of Los Angeles, is located
                      6 within the territorial jurisdiction of the United States District Court for the Central
                      7 District of California. (See 28 U.S.C. § 84.) Venue is proper in this Court because
                      8 it is the “district and division embracing the place where such action is pending.”
                      9 (28 U.S.C. § 1441(a).)
                     10            32.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
                     11 being served upon Plaintiff and a copy is being filed with the Clerk of the Superior
                     12 Court of California, County of Los Angeles.
                     13            33.       If any question arises as to the propriety of the removal of this action,
                     14 Defendant requests the opportunity to brief any disputed issues and to present oral
                     15 argument in support of its position that this case is properly removable.
                     16            34.       Nothing in this Notice of Removal shall be interpreted as a waiver or
                     17 relinquishment of Defendant’s right to assert any defense or affirmative matter
                     18 including, without limitation, the defenses of (1) lack of jurisdiction over a person;
                     19 (2) improper venue; (3) insufficiency of process; (4) insufficiency of service of
                     20 process; (5) failure to state a claim; or (6) any other procedural or substantive
                     21 defense available under state or federal law.
                     22 IV.        CONCLUSION
                     23            WHEREFORE, Defendant respectfully removes this action from the Superior
                     24 Court of California, County of Los Angeles, to this Court, pursuant to 28 U.S.C. §§
                     25
                     26
                          Plaintiff alleges CAMPUSEAI, INC. has forfeited its status with the California
                          2

                     27 Franchise Tax Board. (Exhibit A, Complaint, ¶¶4, 23.) CAMPUSEAI, INC. has

LEWIS                28 reinstated its status with the Franchise Tax Board. (Jain Decl. at ¶9.)
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                      1 1332, 1367, 1441, and 1446.
                      2                                  DEMAND FOR JURY TRIAL
                      3            Defendant demands a jury trial of pursuant to Federal Rule of Civil Procedure
                      4 Rule 38.
                      5 DATED: January 14, 2022                    RACHEL J. LEE
                                                                   MADONNA L. DEVLING
                      6
                                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP
                      7
                      8
                      9                                            By:         /s/Madonna L. Devling
                     10                                                  MADONNA L. DEVLING
                                                                         Attorneys for Defendants, UNIFYED, LLC
                     11                                                  and CAMPUSEAI, INC.
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                      1                           FEDERAL COURT PROOF OF SERVICE
                                                    Melissa Robertson v. Unifyed, LLC, et al.
                      2                                     Case No. 21STCV37867
                      3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                      4        At the time of service, I was over 18 years of age and not a party to the action.
                        My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                      5 I am employed in the office of a member of the bar of this Court at whose direction
                        the service was made.
                      6
                               On January 14, 2022, I served the following document(s): DEFENDANT
                      7 UNIFYED,     LLC’S NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT
                        TO 28 U.S.C. § 1441(A) (DIVERSITY JURISDICTION)
                      8
                               I served the documents on the following persons at the following addresses
                      9 (including  fax numbers and e-mail addresses, if applicable):
                     10 Matthew B. Perez, Esq.                           Attorneys for Plaintiff, MELISSA
                        Devon M. Lyon, Esq.                              ROBERTSON
                     11 Lyon Legal, P.C.
                        2698 Junipero Ave., Suite 201A                   T: (562) 216-7382
                     12 Signal Hill, CA 90755                            F: (562) 216-7385
                     13                                                  m.perez@lyon-legal.com
                                                                         d.lyon@lyon-legal.com
                     14
                                   The documents were served by the following means:
                     15
                                  (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                     16            addressed to the persons at the addresses listed above and I deposited the
                                   sealed envelope or package with the U.S. Postal Service, with the postage
                     17            fully prepaid.
                     18           (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order
                                   or an agreement of the parties to accept service by e-mail or electronic
                     19            transmission, I caused the documents to be sent to the persons at the e-mail
                                   addresses listed above. I did not receive, within a reasonable time after the
                     20            transmission, any electronic message or other indication that the transmission
                                   was unsuccessful.
                     21
                             I declare under penalty of perjury under the laws of the United States of
                     22 America and the State of California that the foregoing is true and correct.
                     23            Executed on January 14, 2022, at Costa Mesa, California.
                     24
                     25
                                                                          Danielle Morgan
                     26
                     27

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